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                                   Exhibit O

              ESTIMATION OF GENERAL UNSECURED CLAIMS POOL
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                                                                        Estimated Value Estimated Value
                                                                             (Low)           (High)
# Category                           # of Claims   Asserted Amount       Claim Amount    Claim Amount
   General Unsecured Claims
 1 Master Claim ‐ UTIER Damages                   1 $   1,205,492,250   $             ‐ $ 102,400,000
 2 Master Claim ‐ UTIER Grievances                1     1,124,524,226       124,595,399   1,124,524,226
 3 UITICE Litigation                              1       224,900,000               ‐       224,900,000
 4 UITICE Arbitration Awards                      2         5,673,022         5,673,022       5,673,022
 5 Master Claim ‐ UEPI                            1         3,711,794         3,711,794       3,711,794
 6 Litigation                                   207       585,063,104        50,348,324     585,063,104
 7 PPOA                                          14     2,779,645,677        34,063,814   2,779,645,677
 8 Employee                                   1,368        15,838,596         2,595,909      15,838,596
 9 Contract                                       1        12,074,869        12,074,869      12,074,869
10 Judgment/Settlement                           26         6,850,955         6,850,955       6,850,955
11 Trade                                        142         5,538,878         5,538,878       5,538,878
12 Lease                                         12           530,128           530,128         530,128
   Total General Unsecured Claims             1,776 $   5,969,843,500   $   245,983,092 $ 4,866,751,250
